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                IN THE UNITED STATES COURT OF APPEALS
                       FOR THE FEDERAL CIRCUIT


 V.O.S. SELECTIONS, INC., et al.,

              Plaintiffs-Appellees,

                          v.                                       No. 25-1812

 DONALD J. TRUMP, et al.,

              Defendants-Appellants.


 STATE OF OREGON, et al.,

              Plaintiffs-Appellees,
                                                                   No. 25-1813
                          v.

 DONALD J. TRUMP, et al.,

              Defendants-Appellants.


                   MOTION TO CONSOLIDATE APPEALS

      The government moves to consolidate these two appeals, which arise from two

cases decided in a single opinion by the Court of International Trade, for briefing and

argument in this Court. Plaintiffs-appellees in State of Oregon do not oppose this

motion; plaintiffs-appellees in V.O.S. Selections oppose this motion.

      1. These appeals arise from separate suits filed in the Court of International

Trade (CIT). Both suits challenge the imposition of tariffs by the President under the
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International Emergency Economic Powers Act (IEEPA) in response to declared

national emergencies. The cases were not consolidated in the CIT, but a three-judge

panel of the CIT heard both cases and resolved both in a single opinion, holding that

IEEPA did not authorize the imposition of the tariffs at issue here. That opinion is

attached for the Court’s reference. The government filed a notice of appeal in each

case. See Nos. 25-1812, 25-1813.

       2. Because these appeals concern a single opinion issued by the CIT applying

the same reasoning across both cases, they should be treated together to avoid

duplicative briefing or unnecessary filings. Accordingly, the government respectfully

requests that the appeals be consolidated.

       3. We have sought the position of counsel for appellees in both cases.

Plaintiffs-appellees in State of Oregon do not oppose this motion; plaintiffs-appellees in

V.O.S. Selections oppose this motion.

                                        Respectfully submitted,

                                        MICHAEL S. RAAB

                                         /s/ Brad Hinshelwood
                                        BRAD HINSHELWOOD
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 MAY 2025



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                     CERTIFICATE OF COMPLIANCE

      This motion complies with the type-volume limit of Federal Rule of Appellate

Procedure 27(d)(2)(A) because it contains 225 words. This motion was prepared

using Microsoft Word 2013 in Garamond, 14-point font, a proportionally-spaced

typeface.

                                              /s/ Brad Hinshelwood
                                              Brad Hinshelwood
